          Case 1:09-cv-00865-FMA Document 28 Filed 04/08/11 Page 1 of 1


      In The United States Court of Federal Claims
                                            No. 07-680C

                                       (Filed: April 8, 2011)
                                             _________
 5860 CHICAGO RIDGE, LLC.,

                        Plaintiff,

         v.

 THE UNITED STATES,

                        Defendant.
                                              _________

                                               ORDER
                                              _________

         Trial in this case was held on April 4, 2011, through April 7, 2011. During the trial, the
court stated that it would take defendant’s objection to Mr. DeClark’s testimony into
consideration. To facilitate that consideration, on or before April 15, 2011, plaintiff shall file a
copy of Mr. DeClark’s deposition testimony.

       IT IS SO ORDERED.


                                                                s/Francis M. Allegra
                                                                Francis M. Allegra
                                                                Judge
